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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUi\/LBIA

UNITED STATES OF AMERICA,
~ UNDER SEAL

V.

)

)

)

) Crim. No. 17-201-01 (AB.T)
PAUL J'. MANAFORT, J'R., )
)
)

Defendant.

DEFENDANT PAUL J. MANAFORT, J'R. ’S SUPPLEMENTAL FILING
TO MOTION FOR RECONSIDERATION OF CONDITIONS OF RELEASE

Paul J. Manafort, Jr., by and through counsel, hereby moves the Court to

reconsider his conditions of release as set forth in the December 15, 2017 Order

 

remain under advisement pending further supplementation of the motionl Se€ Minute
Order dated January 22, 2018. The instant filing serves as the supplementation to the
motion for reconsideration which was submitted under seal with leave of the Court on
lanuary 17, 2018.l (See Dl<t. # 152-2).

l. Court Order Dated Decernber l5. 2017

On December 15, 2017, the Court granted in part and denied in part Mr_
Manafort’s motion to modify his conditions of release (Dl<t. # 95). ln the Order, the
Court specifically held that home confinement is not the least restrictive condition that
will reasonably assure his appearance (Dkt. # 95 at 2). The Court then outlined the

conditions for the defendant to be released from home confinement in Virginia and to

 

1B€Cause the defendant is proposing certain changes to the Conditions of release, this supplemental
filing to the motion for reconsideration may be deemed a motion by the defendant to modify his conditions
ofrelease by the Court. Regardless ofthe styling ofthe submission, the relief sought remains the same

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although most of the Court’s conditions of release set

forth in the December 15, 2017 Order could be satisfied, there were certain financial

 

in terms

 

of a potential bail package and its financial underpinnings, Mr. Manafort could make a

proposal which utilized 18 U.S.C. Section 3142(c)(B)(xi), 18 U.S.C. Section

 

3142(<:)(B)()<ii), or a combination of the two provisions2 `

the motion would remain under advisement so that the defendant could secure, obtain

and/or identify real properties, solvent sureties, or some combination of the two, that he

 

would propose to secure the $10 million appearance bond.

 

secure a package of real properties which are to be forfeited if he does not appear as

required and, second, to garner documentation that the Court would determine to be

 

 

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sufficient for valuation purposes Based on these efforts, the following bail package is

proposed below.

IH. Bail Package Proposal

A. Agreement to Forfeit Properties to Secure $10 Million Appearance Bond
Upon the Court’s acceptance of the following real properties as sufficient to
satisfy the $10 million appearance bond, Mr. Manafort (and the owners or co~owners)

will execute agreements to forfeit3 the following assets should he fail to appear as

 

 
    
 

required:
1.
2.
3. .- . Y@ri<,NY*'
Appraised v ' “etrr‘t”‘~n¢,s,ta?

Attachments C & D

4- §WY ~
Appraised
Mortgage: . ' … t
Attachments E & F

     
   

New York,NY~ v

The total unencumbered value of these properties (independently appraised values

less mortgages, if any) is $10.05 million, as evidenced by the attached recent appraisals

 

3 See 18 U.S.C. Section 3142(€)(8)()<0. The defendant is examining the formal recordation requirements
and processes in both New Yorl< and Virginia, where the above-identified properties are located. ln New
York, the defendant has been advised that it will likely take three to four weeks for the recording to be
made publicly available from the time the agreement to forfeit the properties (upon a failure to appear) is
formally filed Should there be a lengthy delay, the defendant will request the Court to consider alternative
verification that the properties have been pledged against the appearance bond in this case.

3

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and mortgage statements This is more than the $10 million appearance bond that has
been set for Mr. l\/Ianafort in this matter To be clear, then, the defendant is no longer
proposing a combination of real properties and personal sureties (pursuant to 18 U.S.C.
Section 3142(c)(B)(xii)) in this package Under this bail proposal, because no sureties
are proposed and the values of the properties to be forfeited are independently
documented with proof sufficient for the Court’s purposes, there is no need for Mr.
Manafort’s wife and daughter to set aside $5 million and 32 million, respectively, in
financial accounts over which they have sole signatory authority.4 (See Dkt. # 95 at 2-3)_
In addition to proposing these properties as part of his bail package, however, Mr.
Manafort is proposing another substantial change to his conditions of release to reduce
the purported risk of flight posited by the Government, which is discussed inj?a.

B. Ag;eement to Remain in the Washington. DC. Geographic Area

In a significant modification from the defendant’s previous request to return horne

to Florida, the defendant will now agree to remain in the Washington, DC, area and to

Accordingly, Mr_

 

continue residing in Alexandria, VA

Manafort Will remain in the geographic area where this case will proceed, and there will
be no need to change his current reporting to Pretrial Services. There will be no extra
burden of continually monitoring Mr. l\/Ianafort in Florida, and no regular coordination

will be necessary between Pretrial Services in the District of Columbia and the SOutliem

District of Florida.

 

 

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As part of this proposal, Mr. Manafort does request that he be given the same
treatment granted to the co-defendant, Mr. Gates; i.e., the flexibility to move about the
general vicinity of his designated residence More particularly, this Court has granted
Mr. Gates the freedom to travel within the “geographic area” of Richmond, VA',' which
includes the city’s surrounding counties See Order dated January 4, 2018 at 4, and
Minute Order dated January 10, 2018. Mr. Manafort therefore requests permission to
travel throughout Washington, DC and the city’s immediate surrounding _Virginia
counties of Arlington and Fairfax and Maryland counties of Montgomery and Prince
George’s.5

C. Agreement to Abide by Other Conditions in the Order

Finally, Mr. Manafort will agree to abide by the other conditions of release set
forth in the Order to the extent such conditions are not specific to residing in Florida *
Which, of course, the defendant is agreeing to forego as part of this bail proposall (See
Dkt. # 95 at 3-4). F or example, Mr. Manafort will seek the Court’s permission for other
domestic travel, including travel for business purposes (which he anticipates); he willner

leave the United States; he will stay away from transportation facilities, etc. (See Dkt. #

95 at 3-4).

 

51f not permitted, a simple trip around the city's Beltway to reach a permissible location would
potentially cause Mr. Manafort to violate the conditions of release That said, the defendant
anticipates his travel within the geographic area will generally involve Washington,_ DC, and the

Northern Virgi'nia suburbs.

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WHEREFORE, the defendant respectfully moves this Court to reconsider the
conditions of release set forth in the Order and modify the same as proposed herein

Dated: February 9, 2018 Respectfully submitted,

/s/
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